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                                                                                                                  Case 6:11-bk-47149-SC                            Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                             Desc
                                                                                                    B1 (Official Form 1) (12/11)                                   Main Document Page 2 of 63
                                                                                                                                               United States Bankruptcy Court                                                                             Voluntary Petition
                                                                                                                                                Central District of California
                                                                                                     Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                      Kistner, Robert                                                                                  Kistner, Kathryn
                                                                                                     All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                     (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                      None                                                                                             None

                                                                                                    Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                    (if more than one, state all): 4542                                               (if more than one, state all):    6534
                                                                                                     Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                      9129 Daisy Road                                                                                  9129 Daisy Road
                                                                                                      Hesperia, CA                                                                                     Hesperia, CA                                                           ZIPCODE
                                                                                                                                                                         ZIPCODE
                                                                                                                                                                               92344                                                                                            92344
                                                                                                     County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                      San Bernardino                                                                                   San Bernardino
                                                                                                     Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                         ZIPCODE                                                                                              ZIPCODE

                                                                                                     Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                              ZIPCODE

                                                                                                                   Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                               (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                   (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                         Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
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                                                                                                         See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                         Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                         Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                         Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                         check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                              Chapter 13
                                                                                                                                                                            Other N.A.                                                                   Nonmain Proceeding
                                                                                                                       Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                  (Check box, if applicable)                                    (Check one box)
                                                                                                     Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                      Debts are
                                                                                                                                                                                Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                      primarily
                                                                                                     Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                      business debts.
                                                                                                     regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                              personal, family, or
                                                                                                                                                                                                                              household purpose."
                                                                                                                                 Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                             Check one box:
                                                                                                            Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                    Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                            Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                            signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                            to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
                                                                                                                                                                                                                   4/01/13 and every three years thereafter).
                                                                                                                                                                                                               Check all applicable boxes
                                                                                                            Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                   A plan is being filed with this petition.
                                                                                                            attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                   Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                   classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                      Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                              COURT USE ONLY
                                                                                                        Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                        distribution to unsecured creditors.
                                                                                                    Estimated Number of Creditors

                                                                                                     1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                      5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                    Estimated Assets

                                                                                                    $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                    $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                     million       million          million          million            million
                                                                                                    Estimated Liabilities

                                                                                                    $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                    $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                      million      million          million          million            million
                                                                                                             Case
                                                                                                    B1 (Official    6:11-bk-47149-SC
                                                                                                                 Form 1) (12/11)                                Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                    Desc         Page 2
                                                                                                                                                                Main Document Page 3 of 63
                                                                                                    Voluntary Petition                                                                           Name of Debtor(s):
                                                                                                    (This page must be completed and filed in every case)                                       Robert Kistner & Kathryn Kistner
                                                                                                                             All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                    Location                                                                              Case Number:                                       Date Filed:
                                                                                                    Where Filed:           NONE

                                                                                                     Location                                                                             Case Number:                                       Date Filed:
                                                                                                     Where Filed:
                                                                                                                           N.A.
                                                                                                               Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                     Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                     District:                                                                             Relationship:                                     Judge:


                                                                                                                                    Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                    (To be completed if debtor is an individual
                                                                                                    (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                    10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                    Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                    relief under chapter 11)                                                                have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                            12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                            available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                            debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                             Exhibit A is attached and made a part of this petition.                        X         /s/ Lee No                                           11/14/2011
                                                                                                                                                                                                  Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                  Exhibit C
                                                                                                    Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                             Yes, and Exhibit C is attached and made a part of this petition.
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                                                                                                             No.

                                                                                                                                                                                   Exhibit D
                                                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                 Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                     If this is a joint petition:
                                                                                                                 Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                Information Regarding the Debtor - Venue
                                                                                                                                                                             (Check any applicable box)
                                                                                                                             Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                             preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                             There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                             Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                             has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                             this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                              (Check all applicable boxes)
                                                                                                                             Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                             (Name of landlord that obtained judgment)


                                                                                                                                                                              (Address of landlord)
                                                                                                                             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                             Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                             filing of the petition.
                                                                                                                             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                  Case 6:11-bk-47149-SC                      Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                        Desc
                                                                                                    B1 (Official Form 1) (12/11)                             Main Document Page 4 of 63                                                                                             Page 3
                                                                                                    Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                    (This page must be completed and filed in every case)                                 Robert Kistner & Kathryn Kistner
                                                                                                                                                                                   Signatures
                                                                                                                Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                      I declare under penalty of perjury that the information provided in this petition
                                                                                                      is true and correct.
                                                                                                      [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                      has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                      chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                      available under each such chapter, and choose to proceed under chapter 7.
                                                                                                      [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                      petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                      I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                      I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                      Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                      Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                      title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                                      recognition of the foreign main proceeding is attached.
                                                                                                      X /s/ Robert Kistner
                                                                                                          Signature of Debtor                                                                X
                                                                                                                                                                                                 (Signature of Foreign Representative)
                                                                                                      X /s/ Kathryn Kistner
                                                                                                         Signature of Joint Debtor

                                                                                                                                                                                                  (Printed Name of Foreign Representative)
                                                                                                          Telephone Number (If not represented by attorney)

                                                                                                           11/14/2011
                                                                                                                                                                                                   (Date)
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                                                                                                           Date

                                                                                                                           Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
                                                                                                     X      /s/ Lee No
                                                                                                          Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                            as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                         LEE NO                                                                             and have provided the debtor with a copy of this document and the notices and
                                                                                                          Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                            information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                            rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                         Quantum Law Firm                                                                   setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                          Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                         20320 SW Birch St., Ste 130                                                        document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                          Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                         Newport Beach, CA 92660
                                                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                         949-484-0384
                                                                                                         Telephone Number
                                                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                         11/14/2011                                                                         state the Social Security number of the officer, principal, responsible person or
                                                                                                        Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                     certification that the attorney has no knowledge after an inquiry that the
                                                                                                     information in the schedules is incorrect.                                              Address

                                                                                                            Signature of Debtor (Corporation/Partnership)
                                                                                                       I declare under penalty of perjury that the information provided in this petition
                                                                                                       is true and correct, and that I have been authorized to file this petition on       X
                                                                                                       behalf of the debtor.

                                                                                                       The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                       United States Code, specified in this petition.
                                                                                                                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                               person, or partner whose Social Security number is provided above.
                                                                                                     X
                                                                                                         Signature of Authorized Individual                                                    Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                               not an individual:
                                                                                                          Printed Name of Authorized Individual
                                                                                                                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                               conforming to the appropriate official form for each person.
                                                                                                          Title of Authorized Individual
                                                                                                                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                               and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                         Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                         Case 6:11-bk-47149-SC                   Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53        Desc
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                                                                                                    B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                                                                                                   Central District of California




                                                                                                          Robert Kistner & Kathryn Kistner
                                                                                                    In re______________________________________                                Case No._____________
                                                                                                                    Debtor(s)                                                        (if known)


                                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                               CREDIT COUNSELING REQUIREMENT

                                                                                                            Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                    credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                    case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                    filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                    you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                    required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                    collection activities.
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                                                                                                           Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                    must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                    any documents as directed.

                                                                                                           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                    from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                    administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                    performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                    services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                    developed through the agency.

                                                                                                            2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                    from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                    administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                    performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                    the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                    services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                    no later than 14 days after your bankruptcy case is filed.
                                                                                                         Case 6:11-bk-47149-SC                       Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53       Desc
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                                                                                                    B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                               Page 2


                                                                                                            3. I certify that I requested credit counseling services from an approved agency but
                                                                                                    was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                    following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                    so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                           If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                    counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                    promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                    copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                    requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                    can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                    be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                    without first receiving a credit counseling briefing.

                                                                                                           4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                    applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                           illness or mental deficiency so as to be incapable of realizing and making rational
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                                                                                                           decisions with respect to financial responsibilities.);
                                                                                                                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                           extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                           briefing in person, by telephone, or through the Internet.);
                                                                                                                   Active military duty in a military combat zone.

                                                                                                           5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                    counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                           I certify under penalty of perjury that the information provided above is true and
                                                                                                    correct.



                                                                                                                                 Signature of Debtor:               /s/ Robert Kistner
                                                                                                                                                                   ROBERT KISTNER

                                                                                                                                                                11/14/2011
                                                                                                                                                       Date: _________________
                                                                                                         Case 6:11-bk-47149-SC                   Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53        Desc
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                                                                                                    B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                                                                                                   Central District of California




                                                                                                          Robert Kistner & Kathryn Kistner
                                                                                                    In re______________________________________                                Case No._____________
                                                                                                                    Debtor(s)                                                        (if known)


                                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                               CREDIT COUNSELING REQUIREMENT

                                                                                                            Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                    credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                    case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                    filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                    you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                    required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                    collection activities.
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                                                                                                           Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                    must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                    any documents as directed.

                                                                                                           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                    from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                    administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                    performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                    services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                    developed through the agency.

                                                                                                            2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                    from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                    administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                    performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                    the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                    services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                    no later than 14 days after your bankruptcy case is filed.
                                                                                                         Case 6:11-bk-47149-SC                       Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53       Desc
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                                                                                                            3. I certify that I requested credit counseling services from an approved agency but
                                                                                                    was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                    following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                    so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                           If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                    counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                    promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                    copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                    requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                    can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                    be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                    without first receiving a credit counseling briefing.

                                                                                                           4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                    applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                           illness or mental deficiency so as to be incapable of realizing and making rational
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                                                                                                           decisions with respect to financial responsibilities.);
                                                                                                                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                           extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                           briefing in person, by telephone, or through the Internet.);
                                                                                                                   Active military duty in a military combat zone.

                                                                                                           5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                    counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                           I certify under penalty of perjury that the information provided above is true and
                                                                                                    correct.



                                                                                                                              Signature of Joint Debtor:            /s/ Kathryn Kistner
                                                                                                                                                                   KATHRYN KISTNER

                                                                                                                                                                11/14/2011
                                                                                                                                                       Date: _________________
                                                                                                                 Case 6:11-bk-47149-SC
                                                                                                    B6A (Official Form 6A) (12/07)
                                                                                                                                                          Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                             Desc
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                                                                                                    In re    Robert Kistner & Kathryn Kistner                                                      Case No.
                                                                                                                               Debtor                                                                                                  (If known)

                                                                                                                                                    SCHEDULE A - REAL PROPERTY
                                                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                    tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                    the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                    “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                    “Description and Location of Property.”

                                                                                                      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                    Unexpired Leases.

                                                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                    claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                    Property Claimed as Exempt.




                                                                                                                                                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                                         OR COMMUNITY
                                                                                                                                                                                                                                CURRENT VALUE
                                                                                                                                                                                                                                  OF DEBTOR’S
                                                                                                                  DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                        INTEREST IN       AMOUNT OF
                                                                                                                         OF PROPERTY                                   INTEREST IN PROPERTY                                   PROPERTY, WITHOUT      SECURED
                                                                                                                                                                                                                                DEDUCTING ANY         CLAIM
                                                                                                                                                                                                                                SECURED CLAIM
                                                                                                                                                                                                                                 OR EXEMPTION
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                                                                                                     Single Family Residence                                       Fee Simple                                J                       135,132.00     Exceeds Value
                                                                                                     9129 Daisy Road
                                                                                                     Hesperia, California 92334




                                                                                                                                                                                                  Total
                                                                                                                                                                                                                                     135,132.00

                                                                                                                                                                                                  (Report also on Summary of Schedules.)
                                                                                                                     Case 6:11-bk-47149-SC
                                                                                                    B6B (Official Form 6B) (12/07)
                                                                                                                                                                 Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                           Desc
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                                                                                                    In re      Robert Kistner & Kathryn Kistner                                                  Case No.
                                                                                                                                      Debtor                                                                             (If known)

                                                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                                         Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                    place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                    identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                    community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                    individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                    Unexpired Leases.

                                                                                                          If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                    If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                    "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                      CURRENT VALUE OF




                                                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                                                      DEBTOR’S INTEREST
                                                                                                                                                            N                                                                                            IN PROPERTY,
                                                                                                                 TYPE OF PROPERTY                           O                  DESCRIPTION AND LOCATION                                                    WITHOUT
                                                                                                                                                            N                        OF PROPERTY                                                       DEDUCTING ANY
                                                                                                                                                            E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                                        OR EXEMPTION


                                                                                                      1.    Cash on hand.                                       Cash on Hand                                                         C                         500.00
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                                                                                                      2. Checking, savings or other financial                   Checking Account                                                     C                       1,000.00
                                                                                                      accounts, certificates of deposit, or shares in
                                                                                                      banks, savings and loan, thrift, building and             Checking Account                                                     C                         500.00
                                                                                                      loan, and homestead associations, or credit
                                                                                                      unions, brokerage houses, or cooperatives.


                                                                                                      3. Security deposits with public utilities,           X
                                                                                                      telephone companies, landlords, and others.

                                                                                                      4. Household goods and furnishings, including             Misc. Household Goods and Furnishings                                C                       5,000.00
                                                                                                      audio, video, and computer equipment.
                                                                                                                                                                Television and Home Audio/Video Equipment                            C                         500.00
                                                                                                      5. Books. Pictures and other art objects,             X
                                                                                                      antiques, stamp, coin, record, tape, compact disc,
                                                                                                      and other collections or collectibles.

                                                                                                      6.    Wearing apparel.                                    Misc. Wearing Apparel and Accessories                                C                       1,000.00
                                                                                                      7.    Furs and jewelry.                                   Wedding Ring Set                                                     C                       1,000.00
                                                                                                      8. Firearms and sports, photographic, and             X
                                                                                                      other hobby equipment.

                                                                                                      9. Interests in insurance policies. Name              X
                                                                                                      insurance company of each policy and itemize
                                                                                                      surrender or refund value of each.

                                                                                                      10. Annuities. Itemize and name each issuer.          X
                                                                                                      11. Interests in an education IRA as defined in       X
                                                                                                      26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                                      tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                      Give particulars. (File separately the record(s) of
                                                                                                      any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                      12. Interests in IRA, ERISA, Keogh, or other              STRS Retirement                                                      C                      60,000.00
                                                                                                      pension or profit sharing plans. Give particulars.
                                                                                                    B6B (OfficialCase  6:11-bk-47149-SC
                                                                                                                 Form 6B) (12/07) -- Cont.                        Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                          Desc
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                                                                                                    In re     Robert Kistner & Kathryn Kistner                                                      Case No.
                                                                                                                                      Debtor                                                                              (If known)

                                                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                      CURRENT VALUE OF




                                                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                                                      DEBTOR’S INTEREST
                                                                                                                                                             N                                                                                           IN PROPERTY,
                                                                                                                TYPE OF PROPERTY                             O                 DESCRIPTION AND LOCATION                                                    WITHOUT
                                                                                                                                                             N                       OF PROPERTY                                                       DEDUCTING ANY
                                                                                                                                                             E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                        OR EXEMPTION


                                                                                                      13. Stock and interests in incorporated and            X
                                                                                                      unincorporated businesses. Itemize.

                                                                                                      14. Interests in partnerships or joint ventures.       X
                                                                                                      Itemize.

                                                                                                      15. Government and corporate bonds and other           X
                                                                                                      negotiable and non-negotiable instruments.

                                                                                                      16. Accounts receivable.                               X
                                                                                                      17. Alimony, maintenance, support, and                 X
                                                                                                      property settlement to which the debtor is or
                                                                                                      may be entitled. Give particulars.

                                                                                                      18. Other liquidated debts owing debtor                X
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                                                                                                      including tax refunds. Give particulars.

                                                                                                      19. Equitable or future interests, life estates, and   X
                                                                                                      rights or powers exercisable for the benefit of
                                                                                                      the debtor other than those listed in Schedule A -
                                                                                                      Real Property.

                                                                                                      20. Contingent and noncontingent interests in          X
                                                                                                      estate or a decedent, death benefit plan, life
                                                                                                      insurance policy, or trust.

                                                                                                      21. Other contingent and unliquidated claims of        X
                                                                                                      every nature, including tax refunds,
                                                                                                      counterclaims of the debtor, and rights of setoff
                                                                                                      claims. Give estimated value of each.

                                                                                                      22. Patents, copyrights, and other intellectual        X
                                                                                                      property. Give particulars.

                                                                                                      23. Licenses, franchises, and other general            X
                                                                                                      intangibles. Give particulars.

                                                                                                      24. Customer lists or other compilations               X
                                                                                                      containing personally identifiable information
                                                                                                      (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                                      the debtor by individuals in connection with
                                                                                                      obtaining a product or service from the debtor
                                                                                                      primarily for personal, family, or household
                                                                                                      purposes.

                                                                                                      25. Automobiles, trucks, trailers, and other               2008 Toyota FJ Cruiser - 80k Miles - Good Condition                 C                      17,924.00
                                                                                                      vehicles and accessories.
                                                                                                                                                                 2000 Chevrolet Silverado - 160k Miles - Fair Condition              C                       4,326.00
                                                                                                      26. Boats, motors, and accessories.                    X
                                                                                                      27. Aircraft and accessories.                          X
                                                                                                      28. Office equipment, furnishings, and supplies.       X
                                                                                                      29. Machinery, fixtures, equipment, and                X
                                                                                                      supplies used in business.
                                                                                                               Case
                                                                                                    B6B (Official Form 6:11-bk-47149-SC
                                                                                                                       6B) (12/07) -- Cont.               Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                           Desc
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                                                                                                    In re    Robert Kistner & Kathryn Kistner                                          Case No.
                                                                                                                                    Debtor                                                                      (If known)

                                                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                               CURRENT VALUE OF




                                                                                                                                                                                                                          OR COMMUNITY
                                                                                                                                                                                                                                               DEBTOR’S INTEREST
                                                                                                                                                      N                                                                                           IN PROPERTY,
                                                                                                                TYPE OF PROPERTY                      O            DESCRIPTION AND LOCATION                                                         WITHOUT
                                                                                                                                                      N                  OF PROPERTY                                                            DEDUCTING ANY
                                                                                                                                                      E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                 OR EXEMPTION


                                                                                                      30. Inventory.                                  X
                                                                                                      31. Animals.                                    X
                                                                                                      32. Crops - growing or harvested. Give          X
                                                                                                      particulars.

                                                                                                      33. Farming equipment and implements.           X
                                                                                                      34. Farm supplies, chemicals, and feed.         X
                                                                                                      35. Other personal property of any kind not     X
                                                                                                      already listed. Itemize.
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                                                                                                                                                                       0      continuation sheets attached        Total                        $     91,750.00
                                                                                                                                                                              (Include amounts from any continuation
                                                                                                                                                                                sheets attached. Report total also on
                                                                                                                                                                                      Summary of Schedules.)
                                                                                                                  Case 6:11-bk-47149-SC                Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                 Desc
                                                                                                      B6C (Official Form 6C) (04/10)                   Main Document Page 13 of 63

                                                                                                    In re    Robert Kistner & Kathryn Kistner                                                Case No.
                                                                                                                              Debtor                                                                                (If known)

                                                                                                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                      Debtor claims the exemptions to which debtor is entitled under:
                                                                                                      (Check one box)

                                                                                                            11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                            $146,450*.
                                                                                                            11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                               CURRENT
                                                                                                                                                                   SPECIFY LAW                         VALUE OF           VALUE OF PROPERTY
                                                                                                                DESCRIPTION OF PROPERTY                          PROVIDING EACH                        CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                                    EXEMPTION                         EXEMPTION               EXEMPTION


                                                                                                       Single Family Residence                         C.C.P. 703.140(b)(1)                                      0.00                 135,132.00

                                                                                                       Cash on Hand                                    C.C.P. 703.140(b)(5)                                    500.00                     500.00

                                                                                                       Checking Account                                C.C.P. 703.140(b)(5)                                  1,000.00                   1,000.00

                                                                                                       Misc. Household Goods and Furnishings           C.C.P. 703.140(b)(3)                                  5,000.00                   5,000.00
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                                                                                                       Television and Home Audio/Video                 C.C.P. 703.140(b)(3)                                    500.00                     500.00
                                                                                                       Equipment

                                                                                                       Misc. Wearing Apparel and Accessories           C.C.P. 703.140(b)(3)                                  1,000.00                   1,000.00

                                                                                                       Wedding Ring Set                                C.C.P. 703.140(b)(4)                                  1,000.00                   1,000.00

                                                                                                       Checking Account                                C.C.P. 703.140(b)(5)                                    500.00                     500.00

                                                                                                       2008 Toyota FJ Cruiser - 80k Miles - Good       C.C.P. 703.140(b)(5)                                      0.00                  17,924.00
                                                                                                       Condition

                                                                                                       2000 Chevrolet Silverado - 160k Miles - Fair    C.C.P. 703.140(b)(2)                                  3,525.00                   4,326.00
                                                                                                       Condition                                       C.C.P. 703.140(b)(5)                                    801.00

                                                                                                       STRS Retirement                                 C.C.P. 703.140(b)(10)(E)                            60,000.00                   60,000.00

                                                                                                                                                       Total exemptions claimed:                           73,826.00




                                                                                                      *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                              Case 6:11-bk-47149-SC                           Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                           Desc
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                                                                                                    B6D (Official Form 6D) (12/07)

                                                                                                             Robert Kistner & Kathryn Kistner
                                                                                                    In re _______________________________________________,                                                                  Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                                   (If known)

                                                                                                                       SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                              State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                    by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                    useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                    such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                               List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                    address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                    §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                    include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                    husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                    "Husband, Wife, Joint, or Community."
                                                                                                              If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                    labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                    one of these three columns.)
                                                                                                              Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                    labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                    Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                    the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                                      AMOUNT
                                                                                                                                                              HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                                                                                             CONTINGENT
                                                                                                                                                                                        DATE CLAIM WAS INCURRED,                                                         OF
                                                                                                                                                   CODEBTOR




                                                                                                                                                                                                                                                         DISPUTED
                                                                                                                                                                ORCOMMUNITY




                                                                                                               CREDITOR’S NAME,
                                                                                                                MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                         CLAIM            UNSECURED
                                                                                                              INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                           WITHOUT            PORTION,
                                                                                                             AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                         DEDUCTING            IF ANY
                                                                                                               (See Instructions Above.)                                                     SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                    COLLATERAL


                                                                                                    ACCOUNT NO. 2878                                                                 Incurred: 2008                                                                                     272,731.83
                                                                                                                                                                                     Lien: Deed of Trust
                                                                                                    BAC Home Loans Servicing, LP
                                                                                                                                                                                     Security: Single Family Residence
                                                                                                    450 American St. SV                                       C                                                                                                       407,883.83
                                                                                                    Simi Valley, CA 93065                                                            Reaffirm


                                                                                                                                                                                      VALUE $                135,152.00
                                                                                                    ACCOUNT NO. 2123                                                                 Lien: Deed of Trust
                                                                                                                                                                                     Security: Single Family Residence
                                                                                                    BAC Home Loans Servicing, LP
                                                                                                                                                                                     Account should have been closed
                                                                                                    450 American St. SV                                       C                                                                                          X          Notice Only     Notice Only
                                                                                                    Simi Valley, CA 93065                                                            but remains active on credit report.


                                                                                                                                                                                     VALUE $                        0.00
                                                                                                    ACCOUNT NO. 2004                                                                 Incurred: 07/12/2011                                                                                 3,851.03
                                                                                                                                                                                     Lien: Abstact of Judgment
                                                                                                    Citibank, N.A.
                                                                                                    c/o Michael S. Hunt, Esq.                                                                                                                                           3,851.03
                                                                                                    151 Bernal Road, Suite 9
                                                                                                    San Jose, CA 95119
                                                                                                                                                                                      VALUE $                       0.00

                                                                                                       1
                                                                                                     _______ continuation sheets attached                                                                                 Subtotal     $ 411,734.86                                $ 276,582.86
                                                                                                                                                                                                                  (Total of this page)
                                                                                                                                                                                                                              Total    $                                           $
                                                                                                                                                                                                               (Use only on last page)
                                                                                                                                                                                                                                                          (Report also on       (If applicable, report
                                                                                                                                                                                                                                                          Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                Summary of Certain
                                                                                                                                                                                                                                                                                Liabilities and Related
                                                                                                                                                                                                                                                                                Data.)
                                                                                                              Case 6:11-bk-47149-SC                             Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                              Desc
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                                                                                                    B6D (Official Form 6D) (12/07) – Cont.



                                                                                                             Robert Kistner & Kathryn Kistner
                                                                                                    In re __________________________________________________,                                                         Case No. _________________________________
                                                                                                                                               Debtor                                                                                                                               (If known)



                                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                        AMOUNT




                                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                                  ORCOMMUNITY




                                                                                                                                                                                                                             CONTINGENT
                                                                                                               CREDITOR’S NAME,                      CODEBTOR                             DATE CLAIM WAS INCURRED,                                                         OF




                                                                                                                                                                                                                                                         DISPUTED
                                                                                                                MAILING ADDRESS                                                              NATURE OF LIEN, AND                                                         CLAIM              UNSECURED
                                                                                                              INCLUDING ZIP CODE,                                                             DESCRIPTION AND                                                           WITHOUT              PORTION,
                                                                                                             AND ACCOUNT NUMBER                                                              VALUE OF PROPERTY                                                         DEDUCTING              IF ANY
                                                                                                               (See Instructions Above.)                                                       SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                      COLLATERAL

                                                                                                    ACCOUNT NO. 7493                                                                   Incurred: 08/2011                                                                                         5,068.58
                                                                                                                                                                                       Lien: Abstract of Judgment Filed
                                                                                                    Target National Bank
                                                                                                    c/o Michael D. Kahn                                                                                                                                                      5,068.58
                                                                                                    4545 Murphy Canyon Rd., 3rd Flr.
                                                                                                    San Diego, CA 92123
                                                                                                                                                                                       VALUE $                       0.00
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                                                                                                    ACCOUNT NO. 1485                                                                   Lien: PMSI in vehicle < 910 days                                                                          8,683.00
                                                                                                                                                                                       Security: 2008 Toyota FJ Cruiser
                                                                                                    Toyota Motor Credit Corp.
                                                                                                    5005 N. River Blvd.                                           C                                                                                                        23,683.00
                                                                                                    Cedar Rapids, IA 52411

                                                                                                                                                                                       VALUE $                  15,000.00
                                                                                                    ACCOUNT NO.




                                                                                                                                                                                       VALUE $
                                                                                                    ACCOUNT NO.




                                                                                                                                                                                       VALUE $
                                                                                                    ACCOUNT NO.




                                                                                                                                                                                       VALUE $
                                                                                                               1 of ___continuation
                                                                                                    Sheet no. ___    1              sheets attached to                                                                   Subtotal (s)    $                                 28,751.58 $         13,751.58
                                                                                                    Schedule of Creditors Holding Secured Claims                                                                 (Total(s) of this page)
                                                                                                                                                                                                                               Total(s) $                                 440,486.44 $ 290,334.44
                                                                                                                                                                                                                (Use only on last page)
                                                                                                                                                                                                                                                                    (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                    Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                          Summary of Certain
                                                                                                                                                                                                                                                                                          Liabilities and Related
                                                                                                                                                                                                                                                                                          Data.)
                                                                                                              Case 6:11-bk-47149-SC                     Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                               Desc
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                                                                                                    B6E (Official Form 6E) (04/10)


                                                                                                               Robert Kistner & Kathryn Kistner
                                                                                                       In re________________________________________________________________,                             Case No.______________________________
                                                                                                                               Debtor                                                                                   (if known)

                                                                                                            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                             A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                      unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                      address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                      property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                      the type of priority.

                                                                                                             The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                      the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                      "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                      entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                      both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                      Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                      in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                      more than one of these three columns.)

                                                                                                            Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                      Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                      amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                      primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.
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                                                                                                               Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                      amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                      with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                      Data.



                                                                                                          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                     TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                                           Domestic Support Obligations

                                                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                    11 U.S.C. § 507(a)(1).


                                                                                                           Extensions of credit in an involuntary case

                                                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                    appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                           Wages, salaries, and commissions

                                                                                                             Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                     independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                           Contributions to employee benefit plans

                                                                                                                Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                              *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                               Case 6:11-bk-47149-SC                    Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                     Desc
                                                                                                                                                        Main Document Page 17 of 63
                                                                                                    B6E (Official Form 6E) (04/10) - Cont.


                                                                                                                  Robert Kistner & Kathryn Kistner
                                                                                                          In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                  Debtor                                                                            (if known)




                                                                                                           Certain farmers and fishermen
                                                                                                         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                           Deposits by individuals
                                                                                                         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                     that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                           Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                           Commitments to Maintain the Capital of an Insured Depository Institution
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                                                                                                        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                     Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                     U.S.C. § 507 (a)(9).



                                                                                                           Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                                     * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                     adjustment.




                                                                                                                                                               0 continuation sheets attached
                                                                                                                                                              ____
                                                                                                                Case 6:11-bk-47149-SC                               Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                   Desc
                                                                                                                                                                    Main Document Page 18 of 63
                                                                                                    B6F (Official Form 6F) (12/07)

                                                                                                             Robert Kistner & Kathryn Kistner
                                                                                                     In re __________________________________________,                                                                   Case No. _________________________________
                                                                                                                                    Debtor                                                                                                                          (If known)

                                                                                                          SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                     against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                     useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                     of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                     1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                     appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                     community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                               If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                     "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                               Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                     Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                     Related Data.
                                                                                                              Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                                                CREDITOR’S NAME,                                                                                                                                                   AMOUNT
                                                                                                                 MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                       OF
                                                                                                               INCLUDING ZIP CODE,                                                                                                                                                  CLAIM
                                                                                                              AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                                (See instructions above.)
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                                                                                                    ACCOUNT NO.         2456                                                               Consideration: Credit Card Debt
                                                                                                                                                                                           (Unsecured)
                                                                                                    Bank of America
                                                                                                    PO Box 17054                                                    C                                                                                                                   9,435.00
                                                                                                    Wilmington, DE 19850



                                                                                                    ACCOUNT NO.         6917                                                               Consideration: Credit Card Debt
                                                                                                                                                                                           (Unsecured)
                                                                                                    Capital Management Services, LP
                                                                                                                                                                                           Original Creditor: Chase Bank
                                                                                                    726 Exchange St., Ste. 700                                      C                                                                                                                   1,697.00
                                                                                                    Buffalo, NY 14210



                                                                                                    ACCOUNT NO.         2216                                                               Consideration: Credit Card Debt
                                                                                                                                                                                           (Unsecured)
                                                                                                    Capital One Bank
                                                                                                    PO Box 30281                                                    C                                                                                                                   3,353.00
                                                                                                    Salt Lake City, UT 84130



                                                                                                    ACCOUNT NO.         6917                                                               Consideration: Credit Card Debt
                                                                                                                                                                                           (Unsecured)
                                                                                                    Chase Bank, NA
                                                                                                    PO Box 15298                                                    C                                                                                                                   1,697.00
                                                                                                    Wilmington, DE 19850




                                                                                                          5
                                                                                                        _______ continuation sheets attached                                                                                          Subtotal                                 $       16,182.00
                                                                                                                                                                                                                        Total                                                  $
                                                                                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                                                                                     (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                           Summary of Certain Liabilities and Related Data.)
                                                                                                              Case 6:11-bk-47149-SC                            Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                             Desc
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                                                                                                              Robert Kistner & Kathryn Kistner
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      0928                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Chase/Bank One Card
                                                                                                    PO Box 15298                                                 C                                                                                                                          16,795.00
                                                                                                    Wilmington, DE 19850
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                                                                                                    ACCOUNT NO.      0481                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Chase/Bank One Card
                                                                                                    PO Box 15298                                                 C                                                                                                                          16,486.00
                                                                                                    Wilmington, DE 19850



                                                                                                    ACCOUNT NO.      0707                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Citicards CBNA
                                                                                                    701 E 60th St. N                                             C                                                                                                                           3,552.00
                                                                                                    Sioux Falls, SD 57104



                                                                                                    ACCOUNT NO.      2456                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Creditors Financial Group, LLC
                                                                                                                                                                                       Original Creditor: Bank of America
                                                                                                    PO Box 440290                                                C                                                                                                                           9,435.00
                                                                                                    Aurora, CO 80044



                                                                                                     ACCOUNT NO.     2961                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Discover Financial Services
                                                                                                    PO Box 15316                                                 C                                                                                                                           3,468.00
                                                                                                    Wilmington, DE 19850



                                                                                                               1 of _____continuation
                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $     49,736.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                              Case 6:11-bk-47149-SC                            Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                             Desc
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                                                                                                              Robert Kistner & Kathryn Kistner
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      0549                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    ER Solutions, Inc.
                                                                                                                                                                                       Original Creditor: Bank of America
                                                                                                    10750 Hammerly Blvd., #200                                   C                                                                                                                           2,121.00
                                                                                                    Houston, TX 77043
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                                                                                                    ACCOUNT NO.      5165                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Gemb/Lowes
                                                                                                    PO Box 965005                                                C                                                                                                                            367.00
                                                                                                    Orlando, FL 32896



                                                                                                    ACCOUNT NO.      3412                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    HSBC Bank
                                                                                                    PO Box 5253                                                  C                                                                                                                          15,237.00
                                                                                                    Carol Stream, IL 60197



                                                                                                    ACCOUNT NO.      3742                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Mandarich Law Group, LLP
                                                                                                                                                                                       Creditor: Cach, LLC
                                                                                                    6301 Owensmouth Ave., Ste. 850                               C                                                                                                                           8,062.00
                                                                                                    Woodland Hills, CA 91367                                                           Original Creditor: HSBC Bank 2683



                                                                                                     ACCOUNT NO.     0109                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Nelson, Watson & Associates, LLC
                                                                                                    PO Box 1299                                                  C                                                                                                                           3,530.00
                                                                                                    Haverhill, MA 01831



                                                                                                               2 of _____continuation
                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $     29,317.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                              Case 6:11-bk-47149-SC                            Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                             Desc
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                                                                                                              Robert Kistner & Kathryn Kistner
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      1465                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Northstar Location Services, LLC
                                                                                                                                                                                       Original Creditor: Discover Bank
                                                                                                    PO Box 49                                                    C                                                                                                                           3,468.00
                                                                                                    Bowmansville, NY 14026
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                                                                                                    ACCOUNT NO.      6067                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Patenaude & Felix, P.C.
                                                                                                                                                                                       Original Creditor: Target National Bank
                                                                                                    4545 Murphy Canyon Rd., 3rd Fl.                              C                                                                                                                           5,696.00
                                                                                                    San Diego, CA 92123



                                                                                                    ACCOUNT NO.      3412                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Portfolio Recovery Associates, LLC
                                                                                                                                                                                       Original Creditor: HSBC Bank
                                                                                                    PO Box 12903                                                 C                                                                                                                          15,237.00
                                                                                                    Norfolk, VA 23541



                                                                                                    ACCOUNT NO.      7777                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Sears/CBNA
                                                                                                    701 E. 60th St. North                                        C                                                                                                                           1,802.00
                                                                                                    PO Box 6241
                                                                                                    Sioux Falls, SD 57115


                                                                                                     ACCOUNT NO.     9147                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Sears/CBNA
                                                                                                    701 E. 60th St. North                                        C                                                                                                                            764.00
                                                                                                    PO Box 6241
                                                                                                    Sioux Falls, SD 57117


                                                                                                               3 of _____continuation
                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $     26,967.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                              Case 6:11-bk-47149-SC                            Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                             Desc
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                                                                                                              Robert Kistner & Kathryn Kistner
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      6945                                                              Consideration: Student Loan
                                                                                                    SLC Student Loan Trust
                                                                                                    PO Box 6497                                                  C                                                                                                                          11,374.00
                                                                                                    Sioux Falls, SD 57117
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                                                                                                    ACCOUNT NO.      6945                                                              Consideration: Student Loan
                                                                                                    SLC Student Loan Trust
                                                                                                    PO Box 6497                                                  C                                                                                                                           9,151.00
                                                                                                    Sioux Falls, SD 57117



                                                                                                    ACCOUNT NO.      0549                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    Sunrise Credit Services, Inc.
                                                                                                                                                                                       Original Creditor: Bank of America
                                                                                                    PO Box 9100                                                  C                                                                                                                           1,443.00
                                                                                                    Farmingdale, NY 11735



                                                                                                    ACCOUNT NO.      1535                                                              Incurred: 02/2009
                                                                                                                                                                                       Consideration: Credit Card Debt
                                                                                                    Target National Bank
                                                                                                                                                                                       (Unsecured)
                                                                                                    PO Box 673                                                   C                                                                                                                           4,201.00
                                                                                                    Minneapolis, MN 55440                                                              Account sent to collections



                                                                                                     ACCOUNT NO.     1798                                                              Consideration: Collection Agency Attorney
                                                                                                                                                                                       Original Creditor: Dish Network
                                                                                                    The CBE Group Inc.
                                                                                                    131 Tower Park Drive                                         C                                                                                                                            386.00
                                                                                                    PO Box 900
                                                                                                    Waterloo, IA 50704


                                                                                                               4 of _____continuation
                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $     26,555.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                              Case 6:11-bk-47149-SC                            Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                             Desc
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                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                              Robert Kistner & Kathryn Kistner
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      9904                                                              Consideration: Credit Card Debt
                                                                                                                                                                                       (Unsecured)
                                                                                                    The Home Depot/CBNA
                                                                                                    PO Box 6497                                                  C                                                                                                                           1,049.00
                                                                                                    Sioux Falls, SD 57117
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                                                                                                    ACCOUNT NO.




                                                                                                    ACCOUNT NO.




                                                                                                    ACCOUNT NO.




                                                                                                     ACCOUNT NO.




                                                                                                               5 of _____continuation
                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $      1,049.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $    149,806.00
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 6:11-bk-47149-SC                   Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                     Desc
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                                                                                                            Robert Kistner & Kathryn Kistner
                                                                                                    In re                                                                              Case No.
                                                                                                                              Debtor                                                                              (if known)

                                                                                                            SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                     State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                     names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                     contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                     guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                            Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                               OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                           NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                              Case 6:11-bk-47149-SC                    Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                    Desc
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                                                                                                    In re   Robert Kistner & Kathryn Kistner                                          Case No.
                                                                                                                             Debtor                                                                              (if known)


                                                                                                                                                SCHEDULE H - CODEBTORS
                                                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                    debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                    property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                    Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                    name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                    commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                    commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                    parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                    Fed. Bankr. P. 1007(m).
                                                                                                        Check this box if debtor has no codebtors.



                                                                                                                  NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                    B6I (Official Form 6I) (12/07)


                                                                                                                 Robert Kistner & Kathryn Kistner
                                                                                                    In re                                                                                       Case
                                                                                                                            Debtor                                                                                 (if known)
                                                                                                                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                    The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                                    filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                                    calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                                     Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                     Status:   Married                RELATIONSHIP(S): "s", "s"                                                        AGE(S): 15, 14
                                                                                                     Employment:                             DEBTOR                                                                 SPOUSE
                                                                                                     Occupation                        Teacher                                        Teacher's Aide
                                                                                                     Name of Employer                  San Bernardino County Superintendent of SchoolsSan Bernardino County Superintendent of Schools
                                                                                                     How long employed
                                                                                                     Address of Employer               610 North E St.                                        601 North E St.
                                                                                                                                       San Bernardino, CA 92415                               San Bernardino, CA 92415

                                                                                                    INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                                    1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                                     7,625.90
                                                                                                                                                                                                               $ _____________               592.01
                                                                                                                                                                                                                                      $ _____________
                                                                                                          (Prorate if not paid monthly.)
                                                                                                    2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                               $ _____________                 0.00
                                                                                                                                                                                                                                      $ _____________

                                                                                                    3. SUBTOTAL                                                                                                      7,625.90
                                                                                                                                                                                                                $ _____________               592.01
                                                                                                                                                                                                                                       $ _____________
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                                                                                                    4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                579.42
                                                                                                                                                                                                        $ _____________              8.58
                                                                                                                                                                                                                            $ _____________
                                                                                                            a.   Payroll taxes and social security
                                                                                                                                                                                                                297.19
                                                                                                                                                                                                        $ _____________             22.20
                                                                                                                                                                                                                            $ _____________
                                                                                                            b.   Insurance
                                                                                                            c.   Union Dues                                                                                      78.30
                                                                                                                                                                                                        $ _____________              8.88
                                                                                                                                                                                                                            $ _____________
                                                                                                            d.   Other (Specify:___________________________________________________________)                  1,635.23 Net Pay
                                                                                                                                  (D)Deferred Net Pay ($1007.16), Retirement ($610.07), Teachers ($18.00)$ _____________
                                                                                                                                                                                                            (S)Deferred             46.03
                                                                                                                                                                                                                            $ _____________

                                                                                                    5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                2,590.14
                                                                                                                                                                                                                $ _____________               85.69
                                                                                                                                                                                                                                       $ _____________

                                                                                                    6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                              5,035.76
                                                                                                                                                                                                                $ _____________              506.32
                                                                                                                                                                                                                                       $ _____________

                                                                                                    7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                                $ _____________                0.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                       (Attach detailed statement)
                                                                                                    8. Income from real property                                                                                         0.00
                                                                                                                                                                                                                $ _____________                0.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                    9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                                $ _____________                0.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                    10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                                $ _____________                0.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                       debtor’s use or that of dependents listed above.
                                                                                                    11. Social security or other government assistance
                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                                $ _____________                0.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                       ( Specify)
                                                                                                    12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                                $ _____________                0.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                    13. Other monthly income                                                                                             0.00
                                                                                                                                                                                                                $ _____________                0.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                        (Specify)                                                                                                        0.00
                                                                                                                                                                                                                $ _____________                0.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                    14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                                         0.00          $ _____________
                                                                                                                                                                                                                                               0.00
                                                                                                    15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 5,035.76
                                                                                                                                                                                                                $ _____________              506.32
                                                                                                                                                                                                                                       $ _____________

                                                                                                    16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                                    5,542.08
                                                                                                                                                                                                                            $ _____________
                                                                                                        from line 15)
                                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                           on Statistical Summary of Certain Liabilities and Related Data)

                                                                                                    17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                             None
                                                                                                                Case
                                                                                                       B6J (Official    6:11-bk-47149-SC
                                                                                                                     Form 6J) (12/07)                   Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                   Desc
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                                                                                                     In re Robert Kistner & Kathryn Kistner                                                    Case No.
                                                                                                                          Debtor                                                                                 (if known)

                                                                                                              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                 Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                      filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                                      calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                            Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                            labeled “Spouse.”


                                                                                                    1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                                1,877.00
                                                                                                               a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                               b. Is property insurance included?                 Yes ________ No ________
                                                                                                    2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                                  220.00
                                                                                                                   b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                                  150.00
                                                                                                                   c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                                  170.00
                                                                                                                             Cable/Internet
                                                                                                                   d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                                  100.00
                                                                                                    3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                                  200.00
                                                                                                    4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                                  750.00
                                                                                                    5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                                  100.00
                                                                                                    6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                                   75.00
                                                                                                    7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                                   60.00
                                                                                                    8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                                  600.00
                                                                                                    9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                                  200.00
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                                                                                                    10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                    11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                               a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                               b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                               c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                               d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                                  102.00
                                                                                                               e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                    12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                    (Specify)          Property Taxes                                                                                                    $ ______________
                                                                                                                                                                                                                                                  256.58
                                                                                                    13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                               a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                                  585.00
                                                                                                               b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                               c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                    14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                    15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                    16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                                    0.00
                                                                                                    17. Other                                                                                                                            $______________
                                                                                                                                                                                                                                                    0.00
                                                                                                    18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                                5,445.58
                                                                                                    if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                                    19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                              None


                                                                                                    20. STATEMENT OF MONTHLY NET INCOME
                                                                                                            a. Average monthly income from Line 15 of Schedule (Includes
                                                                                                                                                               I         spouse income of $506.32. See Schedule I)                           5,542.08
                                                                                                                                                                                                                                      $ ______________
                                                                                                            b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                             5,445.58
                                                                                                            c. Monthly net income (a. minus b.)                (Net includes Debtor/Spouse combined Amounts)                                    96.50
                                                                                                                                                                                                                                      $ ______________
                                                                                                               Case 6:11-bk-47149-SC                   Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                   Desc
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                                                                                                          B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                               United States Bankruptcy Court
                                                                                                                                                         Central District of California
                                                                                                                      Robert Kistner & Kathryn Kistner
                                                                                                         In re                                                                                        Case No.
                                                                                                                                                          Debtor
                                                                                                                                                                                                      Chapter        7

                                                                                                                                                         SUMMARY OF SCHEDULES
                                                                                                    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                    I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                    claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                    Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                               AMOUNTS SCHEDULED
                                                                                                                                                   ATTACHED
                                                                                                      NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                                      A – Real Property
                                                                                                                                                   YES                     1            $    135,132.00
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                                                                                                      B – Personal Property
                                                                                                                                                   YES                     3            $     91,750.00

                                                                                                      C – Property Claimed
                                                                                                          as exempt                                YES                     1

                                                                                                      D – Creditors Holding
                                                                                                         Secured Claims                            YES                     2                                  $     440,486.44

                                                                                                      E - Creditors Holding Unsecured
                                                                                                          Priority Claims                          YES                     2                                  $           0.00
                                                                                                         (Total of Claims on Schedule E)
                                                                                                      F - Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                       YES                     6                                  $     149,806.00

                                                                                                      G - Executory Contracts and
                                                                                                          Unexpired Leases                         YES                     1

                                                                                                      H - Codebtors
                                                                                                                                                   YES                     1

                                                                                                      I - Current Income of
                                                                                                          Individual Debtor(s)                     YES                     1                                                        $     5,542.08

                                                                                                      J - Current Expenditures of Individual
                                                                                                          Debtors(s)                               YES                     1                                                        $     5,445.58


                                                                                                                                           TOTAL                           19           $    226,882.00       $     590,292.44
                                                                                                          Case
                                                                                                      Official   6:11-bk-47149-SC
                                                                                                               Form 6 - Statistical SummaryDoc   1
                                                                                                                                            (12/07)           Filed 12/08/11 Entered 12/08/11 23:26:53                         Desc
                                                                                                                                          United States Bankruptcy Court
                                                                                                                                                       Main Document Page 29 of 63
                                                                                                                                                          Central District of California

                                                                                                                 In re       Robert Kistner & Kathryn Kistner                                    Case No.
                                                                                                                                                           Debtor
                                                                                                                                                                                                 Chapter       7

                                                                                                    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                    §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                          Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                    information here.

                                                                                                    This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                    Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                       Type of Liability                                                         Amount

                                                                                                       Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                          0.00
                                                                                                       Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                                       Schedule E)
                                                                                                                                                                                          0.00
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                                                                                                       Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                       Schedule E) (whether disputed or undisputed)                                       0.00
                                                                                                       Student Loan Obligations (from Schedule F)                                $        0.00
                                                                                                       Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                       Obligations Not Reported on Schedule E                                             0.00
                                                                                                       Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                                       (from Schedule F)                                                                  0.00

                                                                                                                                                                        TOTAL    $        0.00


                                                                                                      State the Following:
                                                                                                       Average Income (from Schedule I, Line 16)                                 $    5,542.08
                                                                                                       Average Expenses (from Schedule J, Line 18)                               $    5,445.58
                                                                                                       Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                       22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                      5,675.94



                                                                                                      State the Following:
                                                                                                       1. Total from Schedule D, “UNSECURED PORTION, IF                                          $   290,334.44
                                                                                                       ANY” column

                                                                                                       2. Total from Schedule E, “AMOUNT ENTITLED TO
                                                                                                       PRIORITY” column.
                                                                                                                                                                                 $        0.00

                                                                                                       3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
                                                                                                       PRIORITY, IF ANY” column
                                                                                                                                                                                                 $          0.00

                                                                                                       4. Total from Schedule F                                                                  $   149,806.00
                                                                                                       5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                              $   440,140.44
                                                                                                          B6 (OfficialCase
                                                                                                                       Form 66:11-bk-47149-SC
                                                                                                                              - Declaration) (12/07)                                    Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                                                              Desc
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                                                                                                                    Robert Kistner & Kathryn Kistner
                                                                                                          In re                                                                                                                                        Case No.
                                                                                                                                                 Debtor                                                                                                                                   (If known)

                                                                                                                                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                              21
                                                                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                          are true and correct to the best of my knowledge, information, and belief.



                                                                                                           Date       11/14/2011                                                                                                Signature:          /s/ Robert Kistner
                                                                                                                                                                                                                                                                                   Debtor


                                                                                                           Date       11/14/2011                                                                                                Signature:          /s/ Kathryn Kistner
                                                                                                                                                                                                                                                                          (Joint Debtor, if any)

                                                                                                                                                                                                                                       [If joint case, both spouses must sign.]
                                                                                                       -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                         I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                     110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                     by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                     accepting any fee from the debtor, as required by that section.
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                                                                                                     Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                     of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                      If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                      who signs this document.




                                                                                                      Address

                                                                                                      X
                                                                                                                           Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                    Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                    If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                    A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                    18 U.S.C. § 156.
                                                                                                    -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                          I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                    or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                    in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                    shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                    Date                                                                                                                 Signature:


                                                                                                                                                                                                                                          [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                     [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                     -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                            Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                          Case 6:11-bk-47149-SC              Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                            Desc
                                                                                                       B7 (Official Form 7) (04/10)
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                                                                                                                                                        BANKRUPTCY       COURT
                                                                                                                                                          Central District of California

                                                                                                    In Re Robert Kistner & Kathryn Kistner                                                               Case No.
                                                                                                                                                                                                                          (if known)


                                                                                                                                               STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                    This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                          the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                          information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                          filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                          provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                          indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                          or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                          R. Bankr. P. 1007(m).

                                                                                                                    Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                          must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                          additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                          case number (if known), and the number of the question.

                                                                                                                                                                       DEFINITIONS

                                                                                                                     "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                          individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                          the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                          the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
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                                                                                                          employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                          in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                     "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                          their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                          percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                          such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                     1. Income from employment or operation of business

                                                                                                                     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                     the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                         None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                     two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                     the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                     of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                     under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                     spouses are separated and a joint petition is not filed.)

                                                                                                                             AMOUNT                                                SOURCE

                                                                                                             2011(db)       55,000.00      San Bernardino County Superintendent of
                                                                                                                                           Schools


                                                                                                             2010(db)       75,141.00      San Bernardino County Superintendent of
                                                                                                                                           Schools
                                                                                                             2009(db)       96,429.00      San Bernardino County Superintendent of
                                                                                                                                           Schools




                                                                                                             2011(jdb)
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                                                                                                            AMOUNT                                          SOURCE (if more than one)

                                                                                                       2010(jdb)

                                                                                                       2009(jdb)




                                                                                                            2.   Income other than from employment or operation of business

                                                                                                    None           State the amount of income received by the debtor other than from employment, trade, profession, or
                                                                                                            operation of the debtor's business during the two years immediately preceding the commencement of this case.
                                                                                                            Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                            under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                                            the spouses are separated and a joint petition is not filed.)

                                                                                                             AMOUNT                                                           SOURCE



                                                                                                            3. Payments to creditors
                                                                                                    None
                                                                                                            Complete a. or b., as appropriate, and c.
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                                                                                                            a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                                                                                                            of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                                                                                                            commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                                                                                                            transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                                            a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                                                                                                            nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                                                                                                            must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                            separated and a joint petition is not filed.)


                                                                                                    NAME AND ADDRESS OF CREDITOR                            DATES OF                         AMOUNT             AMOUNT STILL
                                                                                                                                                            PAYMENTS                          PAID                 OWING

                                                                                                    BAC Home Loans Servicing, LP                   November 1, 2011                          1877.35           401,142.17
                                                                                                    450 American St. SV
                                                                                                    Simi Valley, CA 93065
                                                                                                    Toyota Motor Credit Corp.                      November 1, 2011                           585.00            23,683.00
                                                                                                    5005 N. River Blvd.
                                                                                                    Cedar Rapids, IA 52411
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                                                                                                    None
                                                                                                               b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                                                                                                               made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                                                                                                               property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual,
                                                                                                               indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                                                               obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
                                                                                                               credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                                                                                                               other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                               and a joint petition is not filed.)
                                                                                                    *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                                    NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                                     AND RELATIONSHIP TO DEBTOR                                     PAYMENTS                              PAID                   OWING


                                                                                                    None
                                                                                                               c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                                                                                                               to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                                                                                                               must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                               separated and a joint petition is not filed.)


                                                                                                    NAME AND ADDRESS OF CREDITOR                                    DATES OF                       AMOUNT PAID              AMOUNT STILL
                                                                                                     AND RELATIONSHIP TO DEBTOR                                     PAYMENTS                                                   OWING
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                                                                                                               4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                    None       a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                                               immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                               must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                                               spouses are separated and a joint petition is not filed.)


                                                                                                     CAPTION OF SUIT                   NATURE OF PROCEEDING                             COURT OR                                  STATUS OR
                                                                                                    AND CASE NUMBER                                                                AGENCY AND LOCATION                            DISPOSITION

                                                                                                    Target National Bank             Complaint                                        San Bernardino Superior                Judgment/Writ of
                                                                                                    v. Kathryn Kistner                                                                Court                                  Execution
                                                                                                    CIVVS907493                                                                       14455 Civic Drive, Ste. 100
                                                                                                                                                                                      Victorville, CA 92392

                                                                                                    Citibank (South                  Complaint                                        San Bernardino Superior                Entry of
                                                                                                    Dakota) N.A. v.                                                                   Court                                  Default/Clerk's
                                                                                                    Kathryn Kistner                                                                   14455 Civic Dr., Ste. 100              Judgment $3851.03
                                                                                                    CIVVS1102004                                                                      Victorville, CA 92392

                                                                                                    Citibank v. Kistner              Complaint                                        San Bernardino Superior
                                                                                                    CIVVS902856                                                                       Court
                                                                                                                                                                                      14455 Civic Dr., Ste. 100
                                                                                                                                                                                      Victorville, CA 92392
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                                                                                                    None     b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                                                                                                             within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                                             12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                       NAME AND ADDRESS OF                                      DATE OF                                    DESCRIPTION AND
                                                                                                     PERSON FOR WHOSE BENEFIT                                   SEIZURE                                   VALUE OF PROPERTY
                                                                                                       PROPERTY WAS SEIZED

                                                                                                    Target National Bank v. Kathryn                          8/19/2011                            $3851.03
                                                                                                    Kistner
                                                                                                    CIVVS907493


                                                                                                             5.   Repossessions, foreclosures and returns

                                                                                                    None            List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                                                                                                             deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                                                                                                             of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                                                             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                             joint petition is not filed.)


                                                                                                        NAME AND                                 DATE OF REPOSESSION,                                      DESCRIPTION AND
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                                                                                                       ADDRESS OF                                 FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                                                    CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                                             6. Assignments and Receiverships

                                                                                                    None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                                                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                             any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                             and a joint petition is not filed.)


                                                                                                            NAME AND                                    DATE OF ASSIGNMENT                              TERMS OF
                                                                                                             ADDRESS                                                                                   ASSIGNMENT
                                                                                                           OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                                                    None     b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                                                                                                             one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                             chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                            NAME AND                          NAME AND LOCATION                         DATE OF               DESCRIPTION AND
                                                                                                             ADDRESS                          OF COURT CASE TITLE                        ORDER               VALUE OF PROPERTY
                                                                                                           OF CUSTODIAN                            & NUMBER
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                                                                                                           7.   Gifts

                                                                                                    None         List all gifts or charitable contributions made within one year immediately preceding the commencement of
                                                                                                           this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                                           family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                                           under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                                           joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                           NAME AND                         RELATIONSHIP                      DATE OF                 DESCRIPTION AND
                                                                                                          ADDRESS OF                      TO DEBTOR, IF ANY                     GIFT                   VALUE OF GIFT
                                                                                                    PERSON OR ORGANIZATION


                                                                                                           8.   Losses

                                                                                                    None          List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                           commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                                           or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                                           spouses are separated and a joint petition is not filed.)


                                                                                                       DESCRIPTION                         DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                          DATE OF
                                                                                                       AND VALUE                              WAS COVERED IN WHOLE OR IN PART BY                                LOSS
                                                                                                       OF PROPERTY                                INSURANCE, GIVE PARTICULARS
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                                                                                                           9.   Payments related to debt counseling or bankruptcy

                                                                                                    None           List all payments made or property transferred by or on behalf of the debtor to any persons, including
                                                                                                           attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                                           petition in bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                            NAME AND ADDRESS                        DATE OF PAYMENT,                          AMOUNT OF MONEY OR
                                                                                                                OF PAYEE                            NAME OF PAYOR IF                            DESCRIPTION AND
                                                                                                                                                   OTHER THAN DEBTOR                           VALUE OF PROPERTY

                                                                                                    Quantum Law Firm                         3/2011                                      $2000.00
                                                                                                    20320 SW Birch St., #130
                                                                                                    Newport Beach, CA 92660
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                                                                                                              10. Other transfers

                                                                                                    None      a.     List all other property, other than property transferred in the ordinary course of the business or financial
                                                                                                              affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                                                                                                              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                                              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                                              is not filed.)


                                                                                                      NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                          RELATIONSHIP TO DEBTOR                                                                          TRANSFERRED AND
                                                                                                                                                                                                           VALUE RECEIVED


                                                                                                              b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                                                                                                              case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                    None

                                                                                                           NAME OF TRUST OR OTHER DEVICE                              DATE(S) OF                        AMOUNT OF MONEY OR
                                                                                                                                                                     TRANSFER(S)                          DESCRIPTION AND
                                                                                                                                                                                                         VALUE OF PROPERTY
                                                                                                                                                                                                        OR DEBTOR'S INTEREST
                                                                                                                                                                                                            IN PROPERTY

                                                                                                              11. Closed financial accounts
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                                                                                                    None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                                                                                                              which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                                                                                                              this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                                                                                                              shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                                                                                                              houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                              information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                                                                                                              filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                             NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                      AMOUNT AND
                                                                                                              ADDRESS                            DIGITS OF ACCOUNT NUMBER,                                       DATE OF SALE
                                                                                                           OF INSTITUTION                       AND AMOUNT OF FINAL BALANCE                                       OR CLOSING


                                                                                                              12. Safe deposit boxes

                                                                                                    None             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                              valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                                              under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                                              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                NAME AND                       NAMES AND ADDRESSES OF                  DESCRIPTION OF              DATE OF
                                                                                                             ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                   CONTENTS                TRANSFER OR
                                                                                                           OR OTHER DEPOSITORY                     OR DEPOSITORY                                               SURRENDER, IF ANY
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                                                                                                              13. Setoffs

                                                                                                    None             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                                                                                                              days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                              include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                                                                                                              are separated and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF CREDITOR                                DATE                                 AMOUNT
                                                                                                                                                                        OF                                     OF
                                                                                                                                                                      SETOFF                                 SETOFF

                                                                                                              14. Property held for another person

                                                                                                    None           List all property owned by another person that the debtor holds or controls.


                                                                                                               NAME AND                               DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                                            ADDRESS OF OWNER                         VALUE OF PROPERTY


                                                                                                              15. Prior address of debtor
                                                                                                    None
                                                                                                                     If the debtor has moved within the three years immediately preceding the commencement of this case, list
                                                                                                              all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
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                                                                                                              If a joint petition is filed, report also any separate address of either spouse.


                                                                                                            ADDRESS                                         NAME USED                                  DATES OF OCCUPANCY



                                                                                                              16. Spouses and Former Spouses
                                                                                                    None
                                                                                                                 If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                              Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                                              within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                                                                                                              spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                            NAME


                                                                                                              17. Environmental Sites

                                                                                                              For the purpose of this question, the following definitions apply:

                                                                                                              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                              releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                                              or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                              wastes, or material.

                                                                                                                        "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                                        not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                        "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                                        substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                    None
                                                                                                              a.       List the name and address of every site for which the debtor has received notice in writing by a
                                                                                                              governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                                                                                                              Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                             SITE NAME                        NAME AND ADDRESS                        DATE OF                 ENVIRONMENTAL
                                                                                                            AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                      LAW
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                                                                                                            b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                                            release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                    None

                                                                                                            SITE NAME                       NAME AND ADDRESS                          DATE OF                 ENVIRONMENTAL
                                                                                                           AND ADDRESS                    OF GOVERNMENTAL UNIT                         NOTICE                      LAW


                                                                                                            c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                                                                                                            Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
                                                                                                    None    that is or was a party to the proceeding, and the docket number.


                                                                                                             NAME AND ADDRESS                               DOCKET NUMBER                             STATUS OR DISPOSITION
                                                                                                           OF GOVERNMENTAL UNIT


                                                                                                            18. Nature, location and name of business

                                                                                                    None    a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                            businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                                            partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                                                                                                            trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                                                            commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                                                                                                            within the six years immediately preceding the commencement of this case.
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                                                                                                            If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                                                                                                            and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                                                                                                            of the voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                            If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                            businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                                            percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                            of this case.

                                                                                                     NAME           LAST FOUR DIGITS OF                 ADDRESS                   NATURE OF BUSINESS BEGINNING AND
                                                                                                                    SOCIAL-SECURITY OR                                                               ENDING DATES
                                                                                                                     OTHER INDIVIDUAL
                                                                                                                      TAXPAYER-I.D. NO.
                                                                                                                    (ITIN)/ COMPLETE EIN
                                                                                                    Champion                 xxx-xx-4542              9129 Daisy Road                  Beef Jerky Sales            Business closed
                                                                                                    Fundraising                                       Hesperia, CA 92344                                           in 2010


                                                                                                            b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
                                                                                                            in 11 U.S.C. § 101.
                                                                                                    None

                                                                                                            NAME                                                                             ADDRESS




                                                                                                                        [Questions 19 - 25 are not applicable to this case]
                                                                                                                                             *    *     *   *   *   *
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                                                                                                                 [If completed by an individual or individual and spouse]

                                                                                                                 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                                                 attachments thereto and that they are true and correct.
                                                                                                                 11/14/2011                                                                                     /s/ Robert Kistner
                                                                                                    Date                                                                            Signature
                                                                                                                                                                                    of Debtor                   ROBERT KISTNER

                                                                                                    Date         11/14/2011                                                         Signature                   /s/ Kathryn Kistner
                                                                                                                                                                                    of Joint Debtor             KATHRYN KISTNER

                                                                                                                                                                            0 continuation sheets attached
                                                                                                                                                                          _____


                                                                                                                        Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                           DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                    compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
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                                                                                                    (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                    preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
                                                                                                    debtor, as required in that section.




                                                                                                    Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                    If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                    partner who signs this document.




                                                                                                    Address

                                                                                                    X
                                                                                                    Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                    Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                    not an individual:

                                                                                                    If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                    A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                    or imprisonment or both. 18 U.S.C. §156.
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                                                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                                                                                                         Central District of California
                                                                                                            Robert Kistner & Kathryn Kistner
                                                                                                    In re                                                                 ,         Case No.
                                                                                                                                   Debtor                                                             Chapter 7



                                                                                                                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                     PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                     secured by property of the estate. Attach additional pages if necessary.)


                                                                                                       Property No. 1
                                                                                                      Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                                       BAC Home Loans Servicing, LP                                              Single Family Residence
                                                                                                       450 American St. SV
                                                                                                       Simi Valley, CA 93065

                                                                                                       Property will be (check one):
                                                                                                                 Surrendered                                   Retained

                                                                                                        If retaining the property, I intend to (check at least one):
                                                                                                                 Redeem the property
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                                                                                                                 Reaffirm the debt
                                                                                                                 Other. Explain _______________________________________________(for example, avoid lien
                                                                                                       using 11 U.S.C. §522(f)).

                                                                                                       Property is (check one):
                                                                                                                  Claimed as exempt                                           Not claimed as exempt



                                                                                                       Property No. 2 (if necessary)
                                                                                                      Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                                       Toyota Motor Credit Corp.                                                 2008 Toyota FJ Cruiser - 80k Miles - Good
                                                                                                       5005 N. River Blvd.                                                       Condition
                                                                                                       Cedar Rapids, IA 52411

                                                                                                       Property will be (check one):
                                                                                                                 Surrendered                                   Retained

                                                                                                        If retaining the property, I intend to (check at least one):
                                                                                                                 Redeem the property
                                                                                                                 Reaffirm the debt
                                                                                                                 Other. Explain _______________________________________________(for example, avoid lien
                                                                                                       using 11 U.S.C. §522(f)).

                                                                                                       Property is (check one):
                                                                                                                  Claimed as exempt                                           Not claimed as exempt
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                                                                                                        PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                        Each unexpired lease. Attach additional pages if necessary.)


                                                                                                          Property No. 1           NO Leased Property
                                                                                                         Lessor's Name:                                    Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                   YES              NO


                                                                                                          Property No. 2 (if necessary)
                                                                                                         Lessor's Name:                                    Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                   YES              NO


                                                                                                          Property No. 3 (if necessary)
                                                                                                         Lessor's Name:                                    Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                   YES              NO

                                                                                                          0     continuation sheets attached (if any)
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                                                                                                         ______

                                                                                                        I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                        Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                              11/14/2011
                                                                                                        Date:_____________________________                             /s/ Robert Kistner
                                                                                                                                                                    Signature of Debtor




                                                                                                                                                                       /s/ Kathryn Kistner
                                                                                                                                                                    Signature of Joint Debtor
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          Robert Kistner
          9129 Daisy Road
          Hesperia, CA 92344


          Kathryn Kistner
          9129 Daisy Road
          Hesperia, CA 92344


          Lee No
          Quantum Law Firm
          20320 SW Birch St., Ste 130
          Newport Beach, CA 92660
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          BAC Home Loans Servicing, LP
          450 American St. SV
          Simi Valley, CA 93065


          BAC Home Loans Servicing, LP
          450 American St. SV
          Simi Valley, CA 93065


          Bank of America
          PO Box 17054
          Wilmington, DE 19850


          Capital Management Services, LP
          726 Exchange St., Ste. 700
          Buffalo, NY 14210


          Capital One Bank
          PO Box 30281
          Salt Lake City, UT 84130


          Chase Bank, NA
          PO Box 15298
          Wilmington, DE 19850


          Chase/Bank One Card
          PO Box 15298
          Wilmington, DE 19850


          Chase/Bank One Card
          PO Box 15298
          Wilmington, DE 19850



          Citibank, N.A.
          c/o Michael S. Hunt, Esq.
          151 Bernal Road, Suite 9
          San Jose, CA 95119


          Citicards CBNA
          701 E 60th St. N
          Sioux Falls, SD 57104
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          Creditors Financial Group, LLC
          PO Box 440290
          Aurora, CO 80044


          Discover Financial Services
          PO Box 15316
          Wilmington, DE 19850


          ER Solutions, Inc.
          10750 Hammerly Blvd., #200
          Houston, TX 77043



          Gemb/Lowes
          PO Box 965005
          Orlando, FL 32896


          HSBC Bank
          PO Box 5253
          Carol Stream, IL 60197


          Mandarich Law Group, LLP
          6301 Owensmouth Ave., Ste. 850
          Woodland Hills, CA 91367


          Nelson, Watson & Associates, LLC
          PO Box 1299
          Haverhill, MA 01831


          Northstar Location Services, LLC
          PO Box 49
          Bowmansville, NY 14026



          Patenaude & Felix, P.C.
          4545 Murphy Canyon Rd., 3rd Fl.
          San Diego, CA 92123


          Portfolio Recovery Associates, LLC
          PO Box 12903
          Norfolk, VA 23541
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          Sears/CBNA
          701 E. 60th St. North
          PO Box 6241
          Sioux Falls, SD 57115


          Sears/CBNA
          701 E. 60th St. North
          PO Box 6241
          Sioux Falls, SD 57117


          SLC Student Loan Trust
          PO Box 6497
          Sioux Falls, SD 57117


          SLC Student Loan Trust
          PO Box 6497
          Sioux Falls, SD 57117



          Sunrise Credit Services, Inc.
          PO Box 9100
          Farmingdale, NY 11735


          Target National Bank
          c/o Michael D. Kahn
          4545 Murphy Canyon Rd., 3rd Flr.
          San Diego, CA 92123


          Target National Bank
          PO Box 673
          Minneapolis, MN 55440


          The CBE Group Inc.
          131 Tower Park Drive
          PO Box 900
          Waterloo, IA 50704


          The Home Depot/CBNA
          PO Box 6497
          Sioux Falls, SD 57117



          Toyota Motor Credit Corp.
          5005 N. River Blvd.
          Cedar Rapids, IA 52411
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                                       UNITED STATES BANKRUPTCY COURT
                                            Central District of California


  In re    Robert Kistner & Kathryn Kistner                       ,
                                              Debtor                         Case No.

                                                                                          7
                                                                             Chapter



                                       VERIFICATION OF CREDITOR MATRIX


          I do hereby certify under penalty of perjury that the attached Master Mailing List of Creditors, consisting of 4

  pages, is complete, correct and consistent with the debtor's schedules herewith, pursuant to Local Bankruptcy Rule

  105(6). I assume all responsibility for errors and omissions.



            11/14/2011                                                     /s/ Robert Kistner
  Date                                                   Signature
                                                         of Debtor         ROBERT KISTNER

  Date      11/14/2011                                   Signature         /s/ Kathryn Kistner
                                                         of Joint Debtor   KATHRYN KISTNER




        Lee No
  Quantum Law Firm
  20320 SW Birch St.,
        Ste 130
Newport Beach, CA 92660
     949-484-0384
     949-415-2980
                                                                                                                Case 6:11-bk-47149-SC                     Doc 1 Filed 12/08/11 Entered 12/08/11 23:26:53                                        Desc
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                                                                                                    12/94
                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                              Central District of California
                                                                                                            In re Robert Kistner & Kathryn Kistner                                                Case No. ____________________
                                                                                                                                                                                                  Chapter           7
                                                                                                                                                                                                               ____________________
                                                                                                            Debtor(s)
                                                                                                                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                    1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                            and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                            rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                         2,000.00
                                                                                                            For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                             2,000.00
                                                                                                            Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                            0.00
                                                                                                            Balance Due ......................................……………………………………….................... $ ______________

                                                                                                    2.      The source of compensation paid to me was:

                                                                                                                             Debtor                  Other (specify)
                                                                                                    3.      The source of compensation to be paid to me is:
                                                                                                                             Debtor                  Other (specify)

                                                                                                    4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                                    associates of my law firm.
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                                                                                                               I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                    of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                             a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                             b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                             c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                                     6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                            CERTIFICATION

                                                                                                                    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                 debtor(s) in the bankruptcy proceeding.

                                                                                                                    11/14/2011                                                       /s/ Lee No
                                                                                                                 ____________________________________                              __________________________________________________
                                                                                                                                Date                                                                Signature of Attorney
                                                                                                                                                                                     Quantum Law Firm
                                                                                                                                                                                   __________________________________________________
                                                                                                                                                                                                     Name of law firm
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                                                                                                                                                                     According to the information required to be entered on this statement
                                                                                                                                                                     (check one box as directed in Part I, III, or VI of this statement):
                                                                                                     In re Robert Kistner & Kathryn Kistner                                        The presumption arises.
                                                                                                                              Debtor(s)                                            The presumption does not arise.
                                                                                                                                                                                   The presumption is temporarily inapplicable.
                                                                                                     Case Number:
                                                                                                                              (If known)

                                                                                                                              CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                                         AND MEANS-TEST CALCULATION
                                                                                                    In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions
                                                                                                    in Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should
                                                                                                    complete separate statements if they believe this is required by §707(b)(2)(C).

                                                                                                                                          Part I. MILITARY AND NON-CONSUMER DEBTORS
                                                                                                            Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
                                                                                                            beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
                                                                                                            complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                    1A
                                                                                                                Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
                                                                                                            veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
                                                                                                            active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32
                                                                                                            U.S.C. §901(1)).
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                                                                                                            Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
                                                                                                            verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                    1B
                                                                                                                Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                                                                                                            Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                                            of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                            § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                            (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                            time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
                                                                                                            this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                            Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                                            top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                            to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
                                                                                                            your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
                                                                                                            case before your exclusion period ends.

                                                                                                                Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
                                                                                                    1C      below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                            component of the Armed Forces or the National Guard

                                                                                                                             a.        I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                               I remain on active duty /or/
                                                                                                                                               I was released from active duty on ________________, which is less than 540 days before
                                                                                                                             this bankruptcy case was filed;
                                                                                                                                      OR

                                                                                                                             b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                                     I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                                             _______________, which is less than 540 days before this bankruptcy case was filed.
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                                                                                                                     Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION

                                                                                                          Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                                          a.   Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                                          b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                                               penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                                                                                                               are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                                               Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                                    2     c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                               Column A (“Debtor’s Income”) and Column B (Spouse’s Income) for Lines 3-11.
                                                                                                          d.   Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income")
                                                                                                               for Lines 3-11.

                                                                                                           All figures must reflect average monthly income received from all sources, derived during
                                                                                                           the six calendar months prior to filing the bankruptcy case, ending on the last day of the          Column A        Column B
                                                                                                           month before the filing. If the amount of monthly income varied during the six months, you          Debtor’s        Spouse’s
                                                                                                           must divide the six-month total by six, and enter the result on the appropriate line.                Income          Income
                                                                                                     3     Gross wages, salary, tips, bonuses, overtime, commissions.                                      $ 5,083.93      $      592.01
                                                                                                           Income from the operation of a business, profession or farm. Subtract Line b from Line a
                                                                                                           and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
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                                                                                                           business, profession or farm, enter aggregate numbers and provide details on an attachment.
                                                                                                           Do not enter a number less than zero. Do not include any part of the business expenses
                                                                                                     4     entered on Line b as a deduction in Part V.
                                                                                                              a.      Gross receipts                                     $                       0.00
                                                                                                              b.      Ordinary and necessary business expenses           $                       0.00
                                                                                                              c.      Business income                                    Subtract Line b from Line a       $       0.00    $        0.00
                                                                                                          Rent and other real property income. Subtract Line b from Line a and enter the difference
                                                                                                          in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
                                                                                                          any part of the operating expenses entered on Line b as a deduction in Part V.
                                                                                                     5        a.      Gross receipts                                     $                       0.00
                                                                                                              b.      Ordinary and necessary operating expenses          $                       0.00
                                                                                                              c.      Rent and other real property income                Subtract Line b from Line a       $               $
                                                                                                                                                                                                                   0.00             0.00
                                                                                                     6    Interest, dividends and royalties.                                                               $       0.00    $        0.00
                                                                                                     7    Pension and retirement income.                                                                   $       0.00    $        0.00
                                                                                                          Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                          expenses of the debtor or the debtor’s dependents, including child support paid for that
                                                                                                     8    purpose. Do not include alimony or separate maintenance payments or amounts paid by
                                                                                                          your spouse if Column B is completed. Each regular payment should be reported in only one
                                                                                                          column; If a payment is listged in Column A, do not report that payment in Column B.             $       0.00    $        0.00
                                                                                                          Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                                          However, if you contend that unemployment compensation received by you or your spouse
                                                                                                          was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                                    9
                                                                                                          Column A or B, but instead state the amount in the space below:
                                                                                                           Unemployment compensation claimed to be
                                                                                                           a benefit under the Social Security Act         Debtor $       0.00     Spouse $    0.00        $               $
                                                                                                                                                                                                                   0.00             0.00
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                                                                                                          Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                          sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                                          paid by your spouse if Column B is completed, but include all other payments of
                                                                                                          alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                                    10    Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                                          victim of international or domestic terrorism.
                                                                                                             a.                                                                       $          0.00
                                                                                                             b.                                                                       $          0.00
                                                                                                             Total and enter on Line 10                                                                     $       0.00    $         0.00
                                                                                                          Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
                                                                                                    11    and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).            $ 5,083.93 $          592.01
                                                                                                          Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                                    12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                                          completed, enter the amount from Line 11, Column A.                                                                   5,675.94
                                                                                                                                                                                                             $
                                                                                                                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                                    13     Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
                                                                                                                                                                                                                            $ 68,111.28
                                                                                                           12 and enter the result.
                                                                                                           Applicable median family income. Enter the median family income for the applicable state and household
                                                                                                    14     size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
                                                                                                           bankruptcy court.)
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                                                                                                                                                  California
                                                                                                           a. Enter debtor’s state of residence: _______________                                       4
                                                                                                                                                                 b. Enter debtor’s household size: __________               $ 74,806.00

                                                                                                          Application of Section 707(b)(7). Check the applicable box and proceed as directed.

                                                                                                    15           The amount on Line 13 is less than or equal to the amount on Line 14. Check the “The presumption does not
                                                                                                                 arise” box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                                                                                                                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.


                                                                                                                      Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).

                                                                                                                      Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

                                                                                                    16    Enter the amount from Line 12.                                                                                    $         N.A.

                                                                                                          Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
                                                                                                          Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
                                                                                                          debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
                                                                                                          payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
                                                                                                          dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
                                                                                                          a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                                    17

                                                                                                            a.                                                                        $
                                                                                                            b.                                                                        $
                                                                                                            c.                                                                        $

                                                                                                          Total and enter on Line 17.                                                                                       $         N.A.

                                                                                                    18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                       $         N.A.
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                                                                                                                                  Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                                          Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                                                           National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
                                                                                                           National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
                                                                                                    19A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
                                                                                                           number of person is the number that would currently be allowed as exemptions on your federal income tax
                                                                                                           return, plus the number of any additional dependents whom you support.                                             $     N.A.

                                                                                                           National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
                                                                                                           of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                                                           Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                                                           www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                                                           persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                                                           years of age or older. (The applicable number of persons in each age category is the number in that category
                                                                                                           that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                                                                                                    19B    additional dependents whom you support.) Multiply line a1 by Line b1 to obtain a total amount for persons
                                                                                                           under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons
                                                                                                           65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
                                                                                                           enter the result in Line 19B.

                                                                                                            Persons under 65 years of age                          Persons 65 years of age or older
                                                                                                             a1.      Allowance per person
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                                                                                                                                                        N.A.       a2.    Allowance per person              N.A.
                                                                                                             b1.      Number of persons                     N.A.   b2.    Number of persons
                                                                                                             c1.      Subtotal                          N.A.       c2.    Subtotal                          N.A.              $
                                                                                                                                                                                                                                    N.A.
                                                                                                          Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                                                        Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
                                                                                                    20A available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable family size
                                                                                                        consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                        the number of any additional dependents whom you support.                                                             $     N.A.

                                                                                                           Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
                                                                                                           Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                                                           information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
                                                                                                           family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                                                           tax return, plus the number of any additional dependents whom you support); enter on Line b the total of the
                                                                                                    20B    Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from
                                                                                                           Line a and enter the result in Line 20B. Do not enter an amount less than zero.


                                                                                                            a.     IRS Housing and Utilities Standards; mortgage/rental expense       $                         N.A.
                                                                                                            b.     Average Monthly Payment for any debts secured by your
                                                                                                                   home, if any, as stated in Line 42                                  $                        N.A.
                                                                                                            c.     Net mortgage/rental expense                                        Subtract Line b from Line a                   N.A.
                                                                                                                                                                                                                              $

                                                                                                           Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
                                                                                                           20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                                                           Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
                                                                                                           your contention in the space below:
                                                                                                    21

                                                                                                                                                                                                                                    N.A.
                                                                                                                                                                                                                              $
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                                                                                                          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                                                          an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
                                                                                                          regardless of whether you use public transportation.
                                                                                                          Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
                                                                                                          are included as a contribution to your household expenses in Line 8.
                                                                                                    22A          0    1    2 or more.
                                                                                                          If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                                          Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
                                                                                                          Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                          Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
                                                                                                          the bankruptcy court.)                                                                                          $      N.A.

                                                                                                        Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                                                        expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                                                    22B additional deduction for your public transportation expenses, enter on Line 22B the "Public Transportation"
                                                                                                        amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
                                                                                                                                                                                                                          $      N.A.
                                                                                                        the clerk of the bankruptcy court.)
                                                                                                        Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                                                        which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
                                                                                                        two vehicles.)
                                                                                                            1         2 or more.
                                                                                                        Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
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                                                                                                        Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
                                                                                                     23 Line a and enter the result in Line 23. Do not enter an amount less than zero.

                                                                                                            a.       IRS Transportation Standards, Ownership Costs                      $                       N.A.
                                                                                                                     Average Monthly Payment for any debts secured by Vehicle 1,        $
                                                                                                            b.       as stated in Line 42                                                                       N.A.
                                                                                                            c.       Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.      $      N.A.
                                                                                                          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                          only if you checked the “2 or more” Box in Line 23.
                                                                                                          Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                          Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
                                                                                                          Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                                    24      a.     IRS Transportation Standards, Ownership Costs                      $                        N.A.
                                                                                                                     Average Monthly Payment for any debts secured by Vehicle 2,        $
                                                                                                           b.        as stated in Line 42                                                                       N.A.
                                                                                                           c.        Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.       $      N.A.
                                                                                                          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                                                    25    federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                                          taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                    $      N.A.

                                                                                                          Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                                                     26   payroll deductions that are required for your employment, such as retirement contributions, union dues, and     $
                                                                                                          uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                           N.A.
                                                                                                          Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
                                                                                                    27    term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
                                                                                                          life or for any other form of insurance.                                                                    $          N.A.
                                                                                                          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                                                          required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                                                     28                                                                                                               $          N.A.
                                                                                                          payments. Do not include payments on past due obligations included in Line 44.
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                                                                                                          Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
                                                                                                    29    Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                                                          employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                                                                                                                                    $         N.A.
                                                                                                          whom no public education providing similar services is available.
                                                                                                          Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                                    30    expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other                           $
                                                                                                          educational payments.                                                                                                               N.A.
                                                                                                          Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
                                                                                                    31    on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                                                          reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                                                          Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.                      $         N.A.
                                                                                                          Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
                                                                                                          actually pay for telecommunication services other than your basic home telephone and cell phone service—
                                                                                                    32    such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
                                                                                                          your health and welfare or that of your dependents. Do not include any amount previously deducted.                        $         N.A.

                                                                                                    33      Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                                      $         N.A.

                                                                                                                                            Subpart B: Additional Living Expense Deductions
                                                                                                                                   Note: Do not include any expenses that you have listed in Lines 19-32.

                                                                                                          Health Insurance, Disability Insurance and Health Savings Account Expenses. List the monthly
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                                                                                                          expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
                                                                                                          or your dependents.
                                                                                                              a.     Health Insurance                                                    $                      N.A.
                                                                                                              b.      Disability Insurance                                                    $                        N.A.
                                                                                                              c.      Health Savings Account                                                  $                        N.A.
                                                                                                    34
                                                                                                          Total and enter on Line 34.                                                                                                $        N.A.
                                                                                                          If you do not actually expend this total amount, state your actual average expenditures in the space
                                                                                                          below:
                                                                                                              $          N.A.

                                                                                                          Continued contributions to the care of household or family members. Enter the total average actual
                                                                                                    35    monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                                          elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                                                                                                                                                    $         N.A.
                                                                                                          unable to pay for such expenses.
                                                                                                          Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                                                          you actually incurred to maintain the safety of your family under the Family Violence Prevention and
                                                                                                    36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                                                                                                                                                                                    $         N.A.
                                                                                                          confidential by the court.
                                                                                                          Home energy costs Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                                                    37    Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                                          provide your case trustee with documentation of your actual expenses, and you must demonstrate that
                                                                                                                                                                                                                                    $         N.A.
                                                                                                          the additional amount claimed is reasonable and necessary.
                                                                                                          Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                                          expenses that you actually incur, not to exceed $147.92* per child, for attendance at a private or public
                                                                                                    38    elementary or secondary school by your dependent children less than 18 years of age. You must provide
                                                                                                          your case trustee with documentation of your actual expenses and you must explain why the amount                          $         N.A.
                                                                                                          claimed is reasonable and necessary and not already accounted for in the IRS Standards.
                                                                                                    *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                          Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                                          clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                                                    39    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                                          additional amount claimed is reasonable and necessary.                                                          $          N.A.

                                                                                                          Continued charitable contributions. Enter the amount that you will continue to contribute in the form
                                                                                                    40
                                                                                                          of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170 (c)(1)-(2)          $          N.A.

                                                                                                    41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.
                                                                                                                                                                                                                          $          N.A.

                                                                                                                                            Subpart C: Deductions for Debt Payment

                                                                                                          Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                                                          you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
                                                                                                          Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
                                                                                                          total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
                                                                                                          filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
                                                                                                          the total Average Monthly payments on Line 42.

                                                                                                    42                                                                                  Average
                                                                                                                      Name of                      Property Securing the Debt                          Does payment
                                                                                                                                                                                        Monthly
                                                                                                                      Creditor                                                                        include taxes or
                                                                                                                                                                                        Payment
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                                                                                                                                                                                                         insurance?
                                                                                                           a.                                                                       $                       yes no
                                                                                                           b.                                                                       $                      yes     no
                                                                                                           c.                                                                        $                     yes     no
                                                                                                                                                                                   Total: Add Lines
                                                                                                                                                                                   a, b and c                             $          N.A.

                                                                                                          Other payments on secured claims. If any of the debts listed in Line 42 are secured by your primary
                                                                                                          residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                                                          you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
                                                                                                          in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
                                                                                                          amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
                                                                                                          List and total any such amounts in the following chart. If necessary, list additional entries on a separate
                                                                                                          page.
                                                                                                    43                Name of                         Property Securing the Debt        1/60th of the Cure Amount
                                                                                                                      Creditor
                                                                                                           a.                                                                           $
                                                                                                           b.                                                                           $
                                                                                                           c.                                                                           $
                                                                                                                                                                                                                          $          N.A.

                                                                                                         Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
                                                                                                    44   as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
                                                                                                         filing. Do not include current obligations, such as those set out in Line 28.                                $              N.A.
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                                                                                                           Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
                                                                                                           following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
                                                                                                           expense.
                                                                                                            a.        Projected average monthly Chapter 13 plan payment.                             $             N.A.
                                                                                                                      Current multiplier for your district as determined under schedules issued
                                                                                                            b.        by the Executive Office for United States Trustees. (This information is
                                                                                                     45
                                                                                                                      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy            x              N.A.
                                                                                                                      court.)
                                                                                                            c.        Average monthly administrative expense of Chapter 13 case                      Total: Multiply Lines
                                                                                                                                                                                                     a and b                      $           N.A.
                                                                                                    46     Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                             $           N.A.
                                                                                                                                                Subpart D: Total Deductions from Income
                                                                                                    47 Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                $           N.A.
                                                                                                                                  Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                                    48 Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                     $           N.A.
                                                                                                    49 Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                          $           N.A.
                                                                                                    50 Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                           $           N.A.
                                                                                                       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
                                                                                                    51 enter the result.
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                                                                                                                                                                                                                                  $           N.A.
                                                                                                          Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                                              The amount on Line 51 is less than $7,075*. Check the box for “The presumption does not arise” at the top of page 1
                                                                                                              of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                                                    52        The amount set forth on Line 51 is more than $11,725*. Check the “Presumption arises” box at the top of
                                                                                                              page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                              the remainder of Part VI.
                                                                                                              The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines
                                                                                                              53 through 55).
                                                                                                    53    Enter the amount of your total non-priority unsecured debt                                                              $           N.A.

                                                                                                     54 Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $                  N.A.
                                                                                                        Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                                           The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the
                                                                                                           top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                                     55    The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                                                                                                           arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                                                                                                           VII.

                                                                                                                                            Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                                          Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                                                          and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
                                                                                                          under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
                                                                                                          monthly expense for each item. Total the expenses.
                                                                                                                                              Expense Description                                                    Monthly Amount
                                                                                                     56          a.                                                                                            $                N.A.
                                                                                                                 b.                                                                                            $                      N.A.
                                                                                                                 c.                                                                                            $                      N.A.
                                                                                                                                                                 Total: Add Lines a, b and c                                          N.A.
                                                                                                    *Amounts are subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                                     Part VIII: VERIFICATION
                                                                                                          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                          both debtors must sign.)
                                                                                                               Date: 11/14/2011                           Signature:         /s/ Robert Kistner
                                                                                                                                                                                 (Debtor)
                                                                                                    57                11/14/2011                                             /s/ Kathryn  Kistner
                                                                                                               Date:                                      Signature:
                                                                                                                                                                                (Joint Debtor, if any)
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                                                                                                                                            Form 22 Continuation Sheet
                                                                                                    Income Month 1                                            Income Month 2


                                                                                                    Gross wages, salary, tips...          7,625.90   592.01   Gross wages, salary, tips...        7,625.90      592.01
                                                                                                    Income from business...                   0.00     0.00   Income from business...                 0.00        0.00
                                                                                                    Rents and real property income...         0.00     0.00   Rents and real property income...       0.00        0.00
                                                                                                    Interest, dividends...                    0.00     0.00   Interest, dividends...                  0.00        0.00
                                                                                                    Pension, retirement...                    0.00     0.00   Pension, retirement...                  0.00        0.00
                                                                                                    Contributions to HH Exp...                0.00     0.00   Contributions to HH Exp...              0.00        0.00
                                                                                                    Unemployment...                           0.00     0.00   Unemployment...                         0.00        0.00
                                                                                                    Other Income...                           0.00     0.00   Other Income...                         0.00        0.00


                                                                                                    Income Month 3                                            Income Month 4


                                                                                                    Gross wages, salary, tips...          7,625.90   592.01   Gross wages, salary, tips...           0.00       592.01
                                                                                                    Income from business...                   0.00     0.00   Income from business...                0.00         0.00
                                                                                                    Rents and real property income...         0.00     0.00   Rents and real property income...      0.00         0.00
                                                                                                    Interest, dividends...                    0.00     0.00   Interest, dividends...                 0.00         0.00
                                                                                                    Pension, retirement...                    0.00     0.00   Pension, retirement...                 0.00         0.00
                                                                                                    Contributions to HH Exp...                0.00     0.00   Contributions to HH Exp...             0.00         0.00
                                                                                                    Unemployment...                           0.00     0.00   Unemployment...                        0.00         0.00
                                                                                                    Other Income...                           0.00     0.00   Other Income...                        0.00         0.00
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                                                                                                    Income Month 5                                            Income Month 6


                                                                                                    Gross wages, salary, tips...             0.00    592.01   Gross wages, salary, tips...        7,625.90      592.01
                                                                                                    Income from business...                  0.00      0.00   Income from business...                 0.00        0.00
                                                                                                    Rents and real property income...        0.00      0.00   Rents and real property income...       0.00        0.00
                                                                                                    Interest, dividends...                   0.00      0.00   Interest, dividends...                  0.00        0.00
                                                                                                    Pension, retirement...                   0.00      0.00   Pension, retirement...                  0.00        0.00
                                                                                                    Contributions to HH Exp...               0.00      0.00   Contributions to HH Exp...              0.00        0.00
                                                                                                    Unemployment...                          0.00      0.00   Unemployment...                         0.00        0.00
                                                                                                    Other Income...                          0.00      0.00   Other Income...                         0.00        0.00



                                                                                                                                        Additional Items as Designated, if any




                                                                                                                                                      Remarks
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 Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number             FOR COURT USE ONLY

 TARIQ KANWAR
 QUANTUM LAW FIRM, PC
 20320 SW BIRCH ST., STE 130
 NEWPORT BEACH, CA 92660

 Attorney for Debtor(s)

                  UNITED STATES BANKRUPTCY COURT
                   CENTRAL DISTRICT OF CALIFORNIA
 In re:
                                                                                                       CHAPTER       7
  Robert Kistner & Kathryn Kistner

                                                                                                       CASE NUMBER


                                                                                            Debtor.




                                 DEBTOR'S CERTIFICATION OF EMPLOYMENT INCOME
                                      PURSUANT TO 11 U.S.C. § 521(a)(1)(B)(iv)

I, Robert Kistner , the debtor in this case, declare under penalty of perjury under the laws of the United States of America
that:

                    I have attached to this certificate copies of my pay stubs, pay advices and/or other proof of employment
                    income for the 60-day period prior to the date of the filing of my bankruptcy petition. (NOTE: the filer is
                    responsible for blacking out the Social Security number on pay stubs prior to filing them.)

                    I was self-employed for the entire 60-day period prior to the date of the filing of my bankruptcy petition,
                    and received no payment from any other employer.

                    I was unemployed for the entire 60-day period prior to the date of the filing of my bankruptcy petition.


I, Kathryn Kistner                                                                                             , the joint-debtor in this case, declare under
penalty of perjury under the laws of the United States of America that:

                    I have attached to this certificate copies of my pay stubs, pay advices and/or other proof of employment
                    income for the 60-day period prior to the date of the filing of my bankruptcy petition. (NOTE: the filer is
                    responsible for blacking out the Social Security number on pay stubs prior to filing them.)

                    I was self-employed for the entire 60-day period prior to the date of the filing of my bankruptcy petition,


                    I was unemployed for the entire 60-day period prior to the date of the filing of my bankruptcy petition.



Robert Kistner
                                                                               /s/Robert Kistner
                                                                               Signature of Debtor
Date: 11/14/2011


Kathryn Kistner
                                                                               /s/Kathryn Kistner
                                                                               Signature of Joint Debtor
Date: 11/14/2011


                     This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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 Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number             FOR COURT USE ONLY

 LEE S. NO
 QUANTUM LAW FIRM, PC
 20320 SW BIRCH ST., STE 130
 NEWPORT BEACH, CA 92660

 Attorney for Debtors



                   UNITED STATES BANKRUPTCY COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                       CHAPTER 7

 In re:
 Robert Kistner & Kathryn Kistner                                                                      CASE NUMBER

                                                                                                                             (No Hearing Required)


                                                                                            Debtor.


                                 DECLARATION RE: LIMITED SCOPE OF APPEARANCE
                                  PURSUANT TO LOCAL BANKRUPTCY RULE 2090-1

TO THE COURT, THE DEBTOR, THE TRUSTEE (if any), AND THE UNITED STATES TRUSTEE:

1.        I am the attorney for the Debtor in the above-captioned bankruptcy case.

2.      On (specify date) 11/14/2011, I agreed with the Debtor that for a fee of $2,000.00, I would provide only the
following services:

          a.        Prepare and file the Petition and Schedules
          b.        Represent the Debtor at the 341(a) Meeting
          c.        Represent the Debtor in any relief from stay actions
          d.        Represent the Debtor in any proceeding involving an objection to Debtor’s discharge pursuant to
                    11 U.S.C. § 727
          e.        Represent the Debtor in any proceeding to determine whether a specific debt is nondischargeable under
                    11 U.S.C. § 523
          f.        Other (specify):

3.        I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
          correct and that this declaration was executed on the following date at the city set forth in the upper left-hand
          corner of this page.


          Dated: 11/14/2011                                                    Quantum Law Firm, APC
                                                                               Law Firm Name

I HEREBY APPROVE THE ABOVE:

                                                                               By: /s/Lee No



/s/Robert Kistner                                                              Name: Lee No
Signature of Debtor                                                                   Attorney for Debtor

/s/Kathryn Kistner
Signature of Co-Debtor


                     This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                        F 2090-1.1
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 Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number      FOR COURT USE ONLY

 LEE S. NO
 QUANTUM LAW FIRM
 20320 SW BIRCH ST., STE 130
 NEWPORT BEACH, CA 92660

 Attorney for Debtor(s)

                  UNITED STATES BANKRUPTCY COURT
                   CENTRAL DISTRICT OF CALIFORNIA
 In re:                                                                                         CHAPTER 7
   Robert Kistner & Kathryn Kistner

                                                                                                CASE NUMBER


                                                                                      Debtor.




                                            NOTICE OF AVAILABLE CHAPTERS
             (Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code)

        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs
you about bankruptcy crimes and notifies you that the Attorney General may examine all information you
supply in connection with a bankruptcy case.

       You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to
seek the advice of anattorney to learn of your rights and responsibilities should you decide to file a petition.
Court employees cannot give you legal advice.

        Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your address. If you are filing a joint case (a single
bankruptcy case for two individuals married to each other), and each spouse lists the same mailing address on
the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed from the
bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who
file for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available
opportunities for credit counseling and provides assistance in performing a budget analysis. The
briefing must be given within 180 days before the bankruptcy filing. The briefing may be provided individually
or in a group (including briefings conducted by telephone or on the Internet) and must be provided by a
nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy
administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and
credit counseling agencies. Each debtor in a joint case must complete the briefing.
         In addition, after filing a bankruptcy case, an individual debtor generally must complete a
financial management instructional course before he or she can receive a discharge. The clerk also has
a list of approved financial management instructional courses. Each debtor in a joint case must complete the
course.
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2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total $299)

                 1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their
existing debts. Debtors whose debts are primarily consumer debts are subject to a “means test”
designed to determine whether the case should be permitted to proceed under chapter 7. If your
income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of
the Code. It is up to the court to decide whether the case should be dismissed.
                 2. Under chapter 7, you may claim certain of your property as exempt under governing law. A
        trustee may have the right to take possession of and sell the remaining property that is not exempt and
        use the sale proceeds to pay your creditors.
                 3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts.
        If, however, you are found to have committed certain kinds of improper conduct described in the
        Bankruptcy Code, the court may deny your discharge and, if it does, the purpose for which you filed the
        bankruptcy petition will be defeated.
                 4. Even if you receive a general discharge, some particular debts are not discharged
        under the law. Therefore, you may still be responsible for most taxes and student loans; debts
        incurred to pay nondischargeable taxes; domestic support and property settlement obligations; most
        fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly
        listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
        vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a
        debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the
        bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)

                 1. Chapter 13 is designed for individuals with regular income who would like to pay all or
        part of their debts in installments over a period of time. You are only eligible for chapter 13 if your debts
        do not exceed certain dollar amounts set forth in the Bankruptcy Code.
                 2. Under chapter 13, you must file with the court a plan to repay your creditors all or part
of the money that you owe them, using your future earnings. The period allowed by the court to repay
your debts may be three years or five years, depending upon your income and other factors. The court
must approve your plan before it can take effect.
                 3. After completing the payments under your plan, your debts are generally discharged
        except for domestic support obligations; most student loans; certain taxes; most criminal fines
        and restitution obligations; certain debts which are not properly listed in your bankruptcy papers; certain
        debts for acts that caused death or personal injury; and certain long term secured obligations.

         Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)

                Chapter 11 is designed for the reorganization of a business but is also available to
         consumer debtors. Its provisions are quite complicated, and any decision by an individual to file a
         chapter 11 petition should be reviewed with an attorney.

       Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total
fee $239)

                 Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a
         period of time from future earnings and is similar to chapter 13. The eligibility requirements
         are restrictive, limiting its use to those whose income arises primarily from a family-owned farm or
         commercial fishing operation.
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3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                 A person who knowingly and fraudulently conceals assets or makes a false oath or statement
         under penalty of perjury, either orally or in writing, in connection with a bankruptcy case is
         subject to a fine, imprisonment, or both. All information supplied by a debtor in connection with a
         bankruptcy case is subject to examination by the Attorney General acting through the Office
         of the United States Trustee, the Office of the United States Attorney, and other components
         and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information
regarding your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy
case may be dismissed if this information is not filed with the court within the time deadlines set by the
Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                          Certificate of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to
the debtor this notice required by § 342(b) of the Bankruptcy Code.


Printed name and title, if any, of Bankruptcy Petition Preparer               Social Security number (If the bankruptcy
                                                                              petition Address: preparer is not an
                                                                              individual, state the Social Security number
                                                                              of the officer, principal,responsible person,
                                                                              or partner of the bankruptcy petition
X____________________________________                                         preparer.) (Required by 11 U.S.C. § 110.)
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.


                                                      Certificate of the Debtor

         I (We), the debtor(s), affirm that I (we) have received and read this notice.


Robert Kistner
                                                              /s/Robert Kistner
                                                              Signature of Debtor
Date: 11/14/2011


Kathryn Kistner
                                                              /s/Kathryn Kistner
                                                              Signature of Joint Debtor
Date: 11/14/2011
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                           STATEMENT OF RELATED CASES
               INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1015-2
          UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number and
title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom assigned,
whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property included in
Schedule A that was filed with any such prior proceeding(s).)

N/A



2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge and
court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real
property included in Schedule A that was filed with any such prior proceeding(s).)

N/A




3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of
the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner of the
debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms or
corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each such
prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that
was filed with any such prior proceeding(s).)

N/A



4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending,
and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed
with any such prior proceeding(s).)

None

I declare, under penalty of perjury, that the foregoing is true and correct.

Executed at Newport Beach, California.                                                  /s/Robert Kistner
                                                                                        Debtor

Dated: 11/14/2011                                                            /s/Kathryn Kistner
                                                                                     Joint Debtor


                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

  January 2009                                                                                                                   F 1015-2.1
